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  1   XAVIER BECERRA
      Attorney General of California
  2   MARK BECKINGTON
      Supervising Deputy Attorney General
  3   JENNIFER E. ROSENBERG
      Deputy Attorney General
  4   State Bar No. 275496
       300 South Spring Street, Suite 1702
  5    Los Angeles, CA 90013
       Telephone: (213) 269-6617
  6    Fax: (916) 731-2124
       E-mail: Jennifer.Rosenberg@doj.ca.gov
  7   Attorneys for Defendants Xavier Becerra, in
      his official capacity as Attorney General of
  8   the State of California, and Luis Lopez,
      in his official capacity as Director of
  9   the Department of Justice Bureau of
      Firearms
 10
                       IN THE UNITED STATES DISTRICT COURT
 11
                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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 13
 14
 15   Matthew Jones, et al.,                       3:19-cv-01226-L-AHG
 16                                  Plaintiffs,
 17               v.                           DECLARATION OF JENNIFER
                                               ROSENBERG IN SUPPORT OF
 18                                            JOINT MOTION TO MODIFY
      Xavier Becerra, in his official capacity DEADLINE FOR CLOSE OF FACT
 19   as Attorney General of the State of      DISCOVERY
      California, et al.,
 20                                            Dept:   5B
                                  Defendants.
 21                                            Judge:  The Honorable M. James
                                                       Lorenz and Magistrate
 22                                                    Judge Alison H. Goddard
 23                                                Final Pretrial Conference
                                                   Date:         August 9, 2021
 24
                                                   Action
 25                                                Filed:       July 1, 2019
 26                                                First Amended Complaint
                                                   Filed:     July 30, 2019
 27
                                                   Second Amended Complaint
 28                                                Filed:   November 8, 2019
                                       Decl. of Jennifer Rosenberg in Support of Joint Motion to
                            Modify Deadline for Close of Fact Discovery (3:19-cv-01226-L-AHG)
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  1        I, Jennifer E. Rosenberg, hereby declare as follows:
  2
  3       1.       I am an attorney duly licensed to practice law in the State of California. I
  4   am authorized to appear before the above-entitled Court. I am employed as a
  5   Deputy Attorney General for the California Attorney General’s Office within the
  6   California Department of Justice. I am assigned to represent Defendant Xavier
  7   Becerra, in his official capacity as Attorney General of the State of California, and
  8   Defendant Luis Lopez, in his official capacity as Director of the Department of
  9   Justice Bureau of Firearms (collectively, “Defendants”), in this action.
 10       2.       Good cause exists to grant the parties’ joint motion to modify the
 11   deadline for close of fact discovery in this matter from November 6, 2020 to
 12   December 15, 2020.
 13       3.    Counsel for Plaintiffs and Defendants conferred via e-mail and telephone
 14   on October 25 and 26 to discuss the discovery deadlines set in this matter, including
 15   the need for additional time to complete fact discovery.
 16       4.    The parties are in the midst of exchanging responses to discovery
 17   requests served by each side, and are working together to resolve any issues
 18   regarding the scope and form of discovery responses. Several depositions of
 19   Plaintiffs have been scheduled or are in the process of being scheduled. The parties
 20   are also working together to ensure that depositions are conducted at reasonably
 21   convenient times for all involved, accommodating illness, school exams, and work
 22   schedules.
 23        5.      Simultaneously and unexpectedly, due to the pandemic and other factors,
 24   both Defendants’ counsel and Plaintiffs’ counsel have been experiencing an
 25   unusually heavy caseload on this and other matters, placing a strain on their
 26   schedules.
 27        6.   Following their discussions on October 25 and 26, 2020, and in light of
 28   the outstanding discovery requests, depositions, and conflicts in the schedules of
                                                   1
                                          Decl. of Jennifer Rosenberg in Support of Joint Motion to
                               Modify Deadline for Close of Fact Discovery (3:19-cv-01226-L-AHG)
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  1   the parties and counsel, the parties and their counsel agreed that the current
  2   scheduling order setting the close of fact discovery on November 6, 2020 should be
  3   adjusted to provide all parties with an additional 30-40 days to complete their fact
  4   discovery obligations and conduct lay witness depositions.
  5        7.    This additional time will benefit all parties and help minimize the need to
  6   resort to the Court for resolution of discovery disputes.
  7        8.    Counsel for the parties agreed to seek modification of the operative
  8   scheduling order to move the close of fact discovery from November 6, 2020 to
  9   December 15, 2020.
 10        9.    The parties do not seek to modify other dates set forth in the operative
 11   scheduling order.
 12        10.   The parties previously sought one modification of the Court's original
 13   scheduling order; that modification moved all dates set forth in the Court's original
 14   scheduling order by approximately 5 to 6 weeks. See ECF Nos. 57, 58.
 15        11.   At this time, the parties do not anticipate seeking further modification of
 16   the scheduling order in the future. However, the parties would like to reserve their
 17   ability to seek the Court's approval of further modifications for good cause should
 18   ·the need to do so arise.
 19
            I, Jennifer E. Rosenberg, affirm under penalty of perjury under the laws of the
 20
      United States and of the State of California that the foregoing is true and correct of
 21
      my own knowledge, and that this declaration is executed on this 27th day of
 22
      October, 2020 at Los Angeles, California.
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 26   SA2019103398

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                                             Deel. of Jennifer Rosenberg in Support of Joint Motion to
                                  Modify Deadline for Close of Fact Discovery (3: 19-cv-01226-L-AHG)
